
648 S.E.2d 211 (2007)
Rocky Burris EUDY, Employee
v.
MICHELIN NORTH AMERICA, INC., Employer and
ACE USA Insurance Company, Carrier.
No. 285P07.
Supreme Court of North Carolina.
June 27, 2007.
Paul C. Lawrence, Taurus E. Becton, Charlotte, for Michelin North America, et al.
Bobby L. Bollinger, Charlotte, for Eudy.
Prior report: ___ N.C.App. ___, 645 S.E.2d 83.

ORDER
Upon consideration of the petition filed by Defendants on the 19th day of June 2007 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of June 2007."
Upon consideration of the petition filed on the 19th day of June 2007 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of June 2007."
